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     UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK

     --------------------------------------x
     ANTHONY ZAPPIN

                            Plaintiff,                 18 Civ. 1693

          -against-                                      OPINION

     CLAIRE COMFORT, et al.,

                            Defendants.

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     APPEARANCES:                                  USDC SDNY
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Sweet, D.J.



            On July 19, 2018, Plaintiff prose, Anthony Zappin

("Zappin" or the "Plaintiff") moved to unseal the motions to

dismiss and supporting exhibits of Defendants Harriet Newman

Cohen and     Cohen Rabin Stine Schumann LLP (the "Cohen

Defendants"); Comprehensive Family Services ("CFS"); and Robert

M. Wallack and the Wallack Firm, P.C.           (the "Wallack

Defendants") . 1 See ECF No. 46. The motion was heard and marked

fully submitted on August 8 , 2015. Zappin also moved to

disqualify Rivkin Radler LLP ("RR") as counsel for the Cohen

Defendants. See ECF No. 61. The motion was heard and marked

fully submitted on September 26, 2018.



            Based on the conclusions set forth below, the motions

of the Plaintiff are denied.



The Motion of the Plaintiff to Unseal is Denied



            Although Zappin's current position is that the Court

improperly sealed documents cit ing to, quoting from, or

otherw ise related to the underlying custody proceeding (the



      By Order dated July 19 , 2018 , this Court treated Zappin ' s letter as a
motion to unseal the documents . See ECF No . 47 .

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"Custody Proceeding"), it is Zappin who sought to seal such

documents in four other federal proceedings relating to the

Custody Proceeding. 2 Zappin's prior applications to seal those

motion papers relied on both Domestic Relations Law§ 245 and

New York Court Rule 202.5(e) (1) (v).



             Zappin has not met his burden of any special

circumstances warranting unsealing of the documents made

confidential under D.R.L. § 245 as required by New York courts.

This is particularly so, where, as here, he not only insisted

upon sealing in the above-referenced prior federal court

actions, but he has access to all of the sealed documents for

use in this action.



The Motion of the Plaintiff for Disqualification is Denied



Factual Background



             On or about May 30, 2018 , Jan ice J. DiGennaro, Esq.

    ("DiGennaro"), a partner at RR, was contacted by the Cohen

Defendants in connection with representing Harriet Newman Cohen



2      The four federal court actions are Zappin v. Cooper , 16 Civ . 5985
(KPF) ; Zappin v. Daily News L . P . d/b/a The Daily News , 16 Civ . 8762 (KPF) ;
Zappin v . NYP Holdings Inc. d/b/a/ The New York Post , 16 Civ . 8838 (KPF) ; and
Zappin v . Cohen , et al. , 15 Civ . 7271 (PKC) (JCF) .

                                        2
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("Cohen") and her firm in this action. Cohen is sued herein by

Zappin for alleged acts or omissions taken in her role as the

court-appointed attorney for the child (the "AFC") in Zappin's

underlying state court matrimonial action (the "Matrimonial

Action") between Plaintiff and his former wife, Claire Comfort

( "Comfort" ), also a defendant herein. See DiGennaro Deel. ! 2,

ECF No. 78-1. RR was specifically chosen by the Cohen Defendants

to represent them.     Id.



          A conflicts check was run and it was determined that

RR never represented Zappin and had no conflict of interest in

representing the Cohen Defendants in this matter.        Id. ! 3. It

was also discovered that RR had previously handled a matter in

which RR was adverse to Zappin and represented the law firm

Aronson Mayefsky & Sloan LLP ("AMS " ).    Id. ! 4. Th e publicly-

filed amended complaint in that action, captioned Zappin v.

Aronson Mayefsky   &   Sloan, LLP, 16 Civ. 7417   (LGS), revealed that

Zappin sued AMS for malpractice in connection with AMS's

representation of Zappin in the early stages of the Matrimonial

Action (the "Malpractice Action"). See DiGennaro Deel. !! 4-5          &


Ex. A, ECF Nos. 78-1, 78-2.



          According to Zappin's amended complaint in the

Malpractice Action, AMS represented Zappin for roughly five

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months, from February 11, 2014 to July 9, 2014. DiGennaro Deel.

Ex. A~ 1, ECF No. 78-2. The issues raised by Zappin in his

prior discontinued action against AMS asserted legal malpractice

and a breach of contract claims, among others, for AMS's alleged

misrepresentation, including the alleged failure to petition for

and secure a pendente lite order of unsupervised visitation,

agreeing to the appointment of an unqualified forensic custody

investigator, agreeing to supervised visitation without Zappin's

consent, agreeing that Zappin should bear the full cost of

supervised visitation without Zappin's consent, advising him

that he need not pay child support, and overbilling him. See id.

~   71. The Malpractice Action was settled and closed in April

2017. See DiGennaro Deel.      ~   4, ECF No. 78-1.



              Zappin's claims in the instant action involve Cohen's

alleged actions, omissions, motivations, and billing in the

custody proceeding occurring after August 2014. See AC~~ 59,

61-62, 66, ECF No. 68. Zappin alleges in this action that the

Cohen Defendants entered a purported conspiracy with Comfort and

her lawyer, Robert Wallack ("Wallack"), to harm Plaintiff's

relationship with his child and deliberately multiply the

custody proceedings so as to improperly churn fees.          See, e.g.,

id.   ~~   67-68, 72-73, 84, 86. These allegations serve as the

predicate for Zappin's claims against the Cohen Defendants for

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fraud,    conspiracy to defraud, abuse of process, conspiracy to

abuse process, interference with Zappin's parental and

contractual rights, and violation of New York Judiciary Law§

487. See id.     ~~   158-94, 201-13. All of those alleged acts

occurred before AMS's termination in July 2014 and before the

AFC's appointment in August 2014. Id.        ~   1.



             Neither DiGennaro nor Carol Lastorino, Esq.

("Lastorino")--the only RR attorneys who work on the instant

action--had any involvement in the representation of AMS in the

Malpractice Action or reviewed the settlement agreement in that

action. See DiGennaro Deel.      ~~   8, 10, ECF No. 78-1. RR partner

Jonathan Bruno ("Bruno") and his associate Deborah Isaacson

("Isaacson") handled the AMS action out of RR's New York City

office.    Id. DiGennaro and Lastorino work out of RR's Long Island

office.    Id.



             Additionally, AMS disclosed 48 pages of emails

exchanged between Zappin and AMS attorneys in the underlying

custody action in support of its motion to dismiss Zappin's

Malpractice Action. See DiGennaro Deel.          ~    10 & Ex. B, ECF Nos.

78-1, 78-3. Zappin also disclosed the content of privileged

communications with AMS in his amended complaint in the

Malpractice Action, and in his opposition to AMS's motion to

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dismiss that action. See DiGennaro Deel.      ~   11 & Ex.   C. at 7 n.3,

17, 21-23, ECF Nos. 78-1, 78-4.



Applicable Standard



             In determining whether to disqualify counsel, courts

must balance "a client's right freely to choose his counsel"

against "the need to maintain the highest standards of the

profession." Evans v. Artek Sys. Corp.,      715 F.2d 788, 791      (2d

Cir. 1983)    (internal quotation marks and citations omitted).

This Circuit has shown "considerable reluctance to disqualify

attorneys despite misgivings about the attorney's conduct," in

part because "disqualification motions are often interposed for

tactical reasons." Bd. of Ed. of the City of N.Y. v. Nyquist,

590 F.2d 1241, 1246 (2d Cir. 1979)).



             Accordingly, the party seeking to disqualify an

opposing party's counsel bears "a high standard of proof." Kubin

v. Miller,    801 F. Supp. 1101, 1114   (S.D.N.Y. 1992)      (citing Gov't

of India v. Cook Indus.    Inc.,   569 F.2d 737, 739 (2d Cir. 1978)).

Although "decisions on qualification motions often benefit from

guidance offered by the American Bar Association (ABA) and state

disciplinary rules, such rules merely provide general guidance

and not every violation of a disciplinary rule will necessary

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lead to disqualification." Hempstead Video, Inc. v. Inc. Vill.

Of Valley Stream, 409 F.3d 127, 132. Instead, disqualification

of an attorney is "only appropriate where there has been a clear

violation of the Code of Professional Responsibility leading to

a significant risk of trial taint." Colandrea v. Town of

Orangetown, 490 F. Supp. 2d 342, 352       (S.D.N.Y. 2007)    (citation

omitted); see also, e.g., Glueck v. Jonathan Logan, Inc.,          653

F.2d 746, 748    (2d Cir. 1981)    ("[Motions to disqualify counsel]

should ordinarily be granted only when a violation of the Canons

of the Code of Professional Responsibility poses a significant

risk of trial taint.");     W.    T. Grant Co. v. Haines,    531 F.2d

671, 677   (2d Cir. 1976)   ("[A] violation of professional ethics

does not        . automatically result in disqualification of

counsel."). "'[M]ere speculation' regarding the reasons for

supporting disqualification are insufficient, and a motion for

disqualification should only be granted "if the facts present a

real risk that the trial will be tained." Tour Tech.          Software,

Inc. v. RTV, Inc., No. 17 Civ. 5817, 2018 WL 3682483, at *2

(E.D.N.Y. Aug. 2, 2018)     (quoting Muniz v. Re Spec Corp., 230 F.

Supp. 3d 147, 152 (S.D.N.Y. 2017)).



           "One recognized form of taint arises when an attorney

places himself in a position where he could use a client's

privileged information against that client." Hempstead,          409 F.3d

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at 133. In cases of successive representation, an attorney may

be disqualified if:    (1) the moving party is a former client of

the adverse party's counsel;    (2) there is a substantial

relationship between the subject matter of the counsel's prior

representation of the moving party and the issues in the present

lawsuit; and (3) the attorney whose disqualification is sought

had access to, or was likely to have had access to, relevant

privileged information in the course of his prior representation

of the client. Id.    (citation omitted).



          Similarly, the New York Rules of Professional Conduct

("RPC") address a lawyer's duties to a former client and provide

in pertinent part that:



          "A lawyer who has formerly represented a client in a

          matter or whose present or former firm has formerly

          represented a client in a matter shall not thereafter

          represent another person in the same or substantially

          related matter in which that person's interests are

          materially adverse to the interests of the former

          client unless the former client gives informed

          consent, confirmed in writing." RPC 1.9(a).




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           RPC 1.9(c) further provides that, where a lawyer has

formerly represented a client in a matter, or whose present or

former firm has formerly represented a client in a matter, shall

not thereafter "use confidential information of the former

client .    . to the disadvantage of the former client" or

"reveal confidential information of the former client."



The Motion to Disqualify RR is Denied



           Zappin's motion for disqualification rests on three

grounds. First, he claims that, because RR previously

represented Zappin's former lawyers, AMS, in defending a legal

malpractice action brought against them by Zappin, RR has a

conflict of interest representing the Cohen Defendants in this

action. Second, he claims that such conflict taints the trial

because RR had access to privileged or confidential information

in connection with that prior representation, which Zappin

speculates that RR may use to his detriment in this action.

Third, he claims that because RR negotiated a confidential

settlement with Zappin on behalf of its client, AMS, RR is in

possession of knowledge relative to the confidential settlement,

which RR may use to Zappin's detriment in this action.




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             Given these arguments, the motion for disqualification

must be judged under the standard used for evaluating successive

representations. Because Plaintiff fails to meet that standard,

his motion to disqualify RR as counsel for the Cohen Defendants

is denied.



             As described above, the threshold issue for successive

conflicts under both New York ethical rules and the Second

Circuit is whether the movant has a prior attorney-client

relationship with the lawyer or firm sought to be disqualified.

Here, RR has never represented Zappin. Rather, RR represented an

adversary of Zappin, namely, attorneys AMS. Accordingly, Zappin

fails to meet the first requirement of the test for

disqualification. See Tour Tech. Software, 2018 WL 3682483, at

*5 (finding disqualification unwarranted despite claim that

attorney obtained confidential information during representation

of another client in connection with negotiating a settlement

where the attorney in question had represented another entity

sued by the plaintiff).



             Second, there is not a substantial relationship

between the subject mater of the counsel's prior representation

and the issues in the current lawsuit. Although Zappin's former

attorneys, AMS, represented him very briefly in the Matrimonial

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Action, that representation ceased on July 11, 2014. See

DiGennaro Deel. Ex. A, ECF No. 78-2. However, Cohen was not

appointed to her role as AFC until August of 2014, i.e., after

AMS's representation was terminated by Zappin. See AC~ 11, ECF

No. 68. Thus, there was no temporal overlap between AMS's

representation of Zappin in the Matrimonial Action and Cohen's

work or services as the AFC in that action. Plaintiff has

therefore failed to meet the second requirement of the

disqualification test. See G.D. Searle     &   Co. v. Nutrapharm Inc.,

1999 WL 249725, at *3 (S.D.N.Y. Apr. 28, 1999)       (denying

disqualification of plaintiff's counsel in trademark

infringement action despite claim that plaintiff's counsel had

previously represented defendant's parent company in the

prosecution of trademarks because the trademark dispute in issue

was not substantially related to plaintiff's counsel's

prosecution of the patents for defendant's parent company)



          Finally, Zappin cannot satisfy the third prong of the

test for disqualification. Other than speculation as to what

documents RR might have received from its client in the prior

Malpractice Action, Zappin has provided nothing to demonstrate

the existence of a significant risk of trial taint or that any

actual prejudice that would flow to him from RR's access to such

documents. For example, Plaintiff argues that since RR (through

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its partner, Bruno), is aware of the terms of the prior

settlement with AMS, it could use such knowledge unfairly

against him. See Pl.'s Br. at 10-11, ECF No. 62. However, Zappin

cites no ethics opinion or other authority justifying

disqualification of counsel because he was involved in, and had

knowledge of, a confidential settlement on behalf of another

client against the same plaintiff in a prior action. In fact,

courts have rejected this precise premise. See Tour Tech.

Software, 2018 WL 3682438, at *5-6; Tradewind Airlines, Inc. v.

Soros, No. 08 Civ. 5901, 2009 WL 1321695, at *7-9 (S.D.N.Y. May

12, 2009). Zappin's "heavy burden" of proof is not met by

allegations such as these. Evans, 715 F.2d at 794.



          Additionally, having disclosed some of the privileged

communications that he exchanged with AMS, Zappin may not use

the attorney-client privilege as both a "shield and a sword."

U.S. v. Bilzerian,   926 F.2d 1285, 1292 (2d Cir. 1991); Bank

Brussels Lambert v. Credit Lyonnais (Suisse)      S.A., No. 93 Civ.

6876, 1995 WL 598971 (S.D.N.Y. Oct. 11, 1995). The documents

exchanged between AMS and Zappin regarding AMS's representation,

advice, alleged malpractice, and billing, were put at issue by

the Malpractice Action and AMS's defense. Moreover, any

privilege applicable to any documents covering those subjects




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was waived by Zappin's selective disclosure of other such

documents and communications.



             In short, Plaintiff has supplied no facts or law

supporting the conclusion that the trial of this action would be

tainted by any ethical impropriety or disclosure of privileged

merit.



Conclusion



For the reasons set forth herein, Plaintiff's motion to unseal

and Plaintiff's motion for disqualification are denied.



             It is so ordered.



New York, NY

January   Jo ,   2019




                                                U.S.D.J.

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